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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON


UNITED STATES OF AMERICA                             6:22-cr-00262-MC

               v.                                    GOVERNMENT’S MOTION FOR
                                                     ALTERNATIVE VICTIM
MICHAEL MALEKZADEH and                               NOTIFICATION UNDER
BETHANY MOCKERMAN,                                   18 U.S.C. ' 3771(d)(2)

              Defendants.


       The United States of America hereby respectfully moves this Court, pursuant to Title 18,

United States Code, Section 3771(d)(2), for authorization to employ the victim notification

procedures described below, in lieu of those prescribed by section 3771(a), (b) and (c), on the

grounds that the number of crime victims in this case makes it impracticable to accord all of the

crime victims the rights described in subsection 3771(a).

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                                                                                      Revised July 2022
       The Crimes Victims’ Rights Act (“the Act”), codified at 18 U.S.C. § 3771,

provides certain rights to victims in federal criminal proceedings. Among these rights is the right

to “reasonable, accurate, and timely notice” of public court proceedings. 18 U.S.C. § 3771(a).

The Act requires “[o]fficers and employees of the Department of Justice and other departments

and agencies of the United States engaged in the detection, investigation and prosecution of

crime make their best efforts to see that crime victims are notified of, and accorded, the rights

described in subsection [3771](a),” 18 U.S.C. § 3771(c)(1), and it instructs the Court to “ensure

that the crime victim is afforded” those rights. 18 U.S.C. § 3771(b). The Act defines a crime

victim as “a person directly and proximately harmed as a result of the commission of a Federal

offense . . .” 18 U.S.C. § 3771(e). Importantly, the Act recognizes that for crimes involving

multiple victims, the Court has discretion to adopt procedures to accord victim rights without

unduly interfering with the criminal proceedings. Thus, 18 U.S.C. §3771(d)(2) provides:

       In a case where the court finds that the number of crime victims makes it
       impracticable to accord all of the crime victims the rights described in subsection
       (a), the court shall fashion a reasonable procedure to give effect to this chapter
       that does not unduly complicate or prolong the proceedings.

The Act places no limitations on the alternative procedures which a Court may fashion other than

that the procedures be reasonable to effectuate the Act and that they not unduly complicate or

prolong the proceedings. Id.

       Defendants are charged in three-count information with Wire Fraud, Conspiracy to

commit Bank Fraud, and Money Laundering. Defendant Malekzadeh established a nationwide

customer base by selling online limited edition and collectable sneakers. By or near the Fall of

2020, Malekzadeh began advertising, selling, and collecting payments from victims for preorder

sneakers knowing he could not satisfy all orders placed. Malekzadeh’s scheme resulted in
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customers sending him significant sums of money and never receiving product. Initial estimates

place the number of Zadeh Kick customers, and therefore potential victims, at well over 15,000.

       This number of victims make compliance with the notification requirements outlined in

section 3771(a), (b) and (c) impracticable. Neither the government nor the Court has the

resources to accord all of the victims in this case the notice required by subsection 3771(a).

Therefore, due to the large number of victims in this case, the Government intends to use the

Justice Department’s website for large cases, http://justice.gov/largecases/, to direct victims to a

case-specific website where all required notices will be posted.

       The government has issued a prior press release in the case which directs potential

victims to visit FBI.gov/ZadehKicks to complete a questionnaire. The website the government

intends to use will include this information regarding the FBI website as well, and refer

individuals who believe they may be victims complete the questionnaire. Victim notification at

the corrections stage will be provided through the Bureau of Prisons’ website, www.bop.gov.

                                         CONCLUSION

       Based on the foregoing, the government requests the Court grant the motion for

alternative victim notification procedures.

Dated: September 16, 2022                             Respectfully submitted,


                                                      NATALIE K. WIGHT
                                                      United States Attorney

                                                      /s/ Gavin W. Bruce________________
                                                      GAVIN W. BRUCE, OSB #113384
                                                      Assistant United States Attorney




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